                Case 2:04-cr-20039-CM-JPO                   Document 379             Filed 05/13/05             Page 1 of 6

AO 245B (Rev. 12/03) - Judgment in a Criminal Case




                                          United States District Court
                                                      District of Kansas

            UNITED STATES OF AMERICA                                        JUDGMENT IN A CRIMINAL CASE
                       v.
                  JOE GARRETT                                               Case Number:      2:04CR20039-003-CM
                                                                            USM Numb er:      10909-031

                                                                            Defendant’s Attorney Michael F. Brady


THE DEFENDANT:
[x]       plead ed guilty to count: 1 of a six-count Superseding Indictment filed October 6, 2004 .
[]        pleaded nolo contendere to count(s)        which w as accepted by the court.
[]        was found guilty on count(s)       after a plea of no t guilty.

The defendant is adjudicated guilty of these offenses:


          Title & Section                              Nature of O ffense                          Offense Ended               Count

 21 U.S.C. §§ 846 and                   CONSPIRACY TO DISTRIBUTE AND                                  10-23-1002                  1
 841(a)(1)                              POSSESS W ITH INTENT TO DISTRIBUTE 50
                                        GRAM S OR M ORE O F COC AINE BASE

        The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.

[]        The defendant has been found not guilty on count(s)       .

[x]       Count(s) 2 and 3 of a six-count Superseding Indictment filed October 6, 2004, along with original Indictment filed on March
          24, 2 004 , are dismissed o n the motion o f the United States.

         IT IS ORDE RED that the defendant shall notify the United States Attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered
to pay restitution, the defendant shall notify the court and Un ited States attorney of material changes in econ omic circum stances.

                                                                                                    May 9, 2005
                                                                                           Date of Imposition of Judgment


                                                                              s/ Carlos Murguia
                                                                                                 Signature of Judge


                                                                                  Hono rable Carlos Murguia, U. S. District Judge
                                                                                              Name & Title of Judge


                                                                                May 13, 2005
                                                                                                         Date
                   Case 2:04-cr-20039-CM-JPO                      Document 379          Filed 05/13/05        Page 2 of 6

AO 245B (Rev. 12/03) Judgment in a Criminal Case---Imprisonment
DEFENDANT:                       JOE GARRETT                                                                          Judgment - Page 2 of 6
CASE NUMBE R:                    2:04CR20039-003-CM



                                                             IMPRISONMENT
        The defendant is hereb y com mitted to the custody o f the United S tates B ureau of Prisons to be imprisoned for a total term of
84 months .




[x]       The Co urt makes the fo llowing recommendations to the Bureau of Prisons: T he co urt reco mmends BO P placem ent as clo se to
          the Kansas City area as possible. The court also recommends the defendant participate in the BOP 500 hour drug treatment
          program.


[x]       The defendant is rema nded to the custod y of the U nited S tates M arshal.


[]        The defendant shall surrender to the United States M arshal for this district.

          [ ] at       on    .

          [ ] as notified by the United States M arshal.


[]        The defendant shall surrender for service o f sentence at the institution designated by the B ureau of P risons:

          [ ] before    on       .

          [ ] as notified by the United States M arshal.

          [ ] as notified by the Probation or Pretrial Services Officer.


                                                                     RETURN
I have executed this judgment as follows:




          Defendant delivered on                                    to

at                                          , with a certified copy of this judgment.




                                                                                                          UNITED STATES MARSHAL



                                                                                                 By
                                                                                                                Deputy U.S. Marshal
                 Case 2:04-cr-20039-CM-JPO                        Document 379                Filed 05/13/05            Page 3 of 6

AO 245B (Rev. 12/03) Judgment in a Criminal Case ---Supervised Release
DEFENDANT:                     JOE GARRETT                                                                                          Judgment - Page 3 of 6
CASE NUMBE R:                  2:04CR20039-003-CM



                                                       SUPERVISED RELEASE
          Upon release from imprisonment, the defendant shall be on supervised release for a term of five (5) years .



The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from the custody of the
Bureau of Prisons.

The defendant shall not commit another federal, state, or local crime.

The defendant shall not unlawfully possess a controlled substance.

The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall submit to one drug test within 15 days of release from
imprisonment and at least two periodic drug tests thereafter, as determined by the court.

[]        The above drug testing condition is suspended based on the court's determination that the defendant poses a low risk of future substance abuse.
          (Check if applicable)

[x]       The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check if applicable)

[x]       The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check if applicable)

[]        The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a student, as
          directed by the probation officer. (Check if applicable)

[]        The defendant shall participate in an approved program for domestic violence. (Check if applicable)

        If this judgment imposes a fine or restitution, it is to be a condition of supervised release that the defendant pay in accordance with the Schedule
of Payments sheet of this judgment.

          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions on the
attached page.

                                   STANDARD CONDITIONS OF SUPERVISION
1)  the defendant shall not leave the judicial district without permission of the court or probation officer;
2)  the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of each month;
3)  the defendant shall answer truthfully all inquiries by the probation officer and follow instructions of the probation officer;
4)  the defendant shall support his or her dependants and meet other family responsibilities;
5)  the defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training or other acceptable reasons;
6)  the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
7)  the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
    controlled substances or any paraphernalia related to any controlled substances, except as prescribed by a physician;
8)  the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
9)  the defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person convicted of a felony unless
    granted permission to do so by the probation officer;
10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any contraband
    observed in plain view of the probation officer;
11) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the permission of the
    court;
13) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal record or
    personal history or characteristics, and shall permit the probation officer to make such notifications and to confirm the defendant's compliance with
    such notification requirement.
                 Case 2:04-cr-20039-CM-JPO                        Document 379   Filed 05/13/05   Page 4 of 6

AO 245B (Rev. 12/03) Judgment in a Criminal Case ---Supervised Release
DEFENDANT:                     JOE GARRETT                                                               Judgment - Page 4 of 6
CASE NUMBE R:                  2:04CR20039-003-CM




                               SPECIAL CONDITIONS OF SUPERVISION

1.    The defendant is prohibited from possessing or purchasing a firearm, ammunition, destructive device, or other
      dangerous weapon.

2.    The defendant shall participate in an approved program for substance abuse, which may include drug/alcohol
      testing, counseling and inpatient treatment, and share in the costs, based on the ability to pay. The defendant
      shall abstain from the use of alcohol during said treatment program.

3.    During the course of supervision, the defendant shall make regular monthly child support payments in
      accordance with any payment plan established by state authorities.
                  Case 2:04-cr-20039-CM-JPO                             Document 379                  Filed 05/13/05              Page 5 of 6

AO 245B (Rev.11/04) Judgment in a Criminal Case---Criminal Monetary Penalties
DEFENDANT:                       JOE GARRETT                                                                                                   Judgment - Page 5 of 6
CASE NUMBE R:                    2:04CR20039-003-CM


                                           CRIMINAL MONETARY PENALTIES
     The defendant shall pa y the total criminal monetary penalties under the Schedule of P ayments set forth in this Judgment.
                                                  Assessment                       Fine                     Restitution

      To tals:                                               $ 100.00                                 $                                 $


[]    The determinatio n of restitutio n is deferred until . An Am ended Jud gment in a C riminal C ase (AO 245C) will be entered after such
      determination.

[ ] The defendant shall make restitution (including community restitution) to the following payees in the amounts listed below.

      If the defendant makes a partial p ayment, each payee shall receive an approxim ately proportioned p ayment, unless specified otherwise
in the priority order o r percentage payme nt column b elow. Ho wever, pursua nt to 18 U .S.C. § 36 64(i), all nonfederal victims must be paid
before the United States is paid.



 Name of Payee                                                         To tal Loss*                Restitution Ordered                 Priority or Percentage




                  Totals:                           $                    $




[]    Restitution amount ordered pursuant to plea agreement $

[]    The defendant shall pay interest on any fine or restitution of mo re than $2,5 00, unless the fine or restitution is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options set forth in this Judgment
      may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612 (g).

[]    The cou rt determined that the defendant do es not have the ability to p ay interest, and it is ordered that:

      [ ] the interest requirement is waived for the                [ ] fine and/or       [ ] restitution.

      [ ] the interest requirement for the              [ ] fine and/or         [ ] restitution is modified as follows:




  * Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses comm itted on or after September 13, 1994,
but before April 23, 1996.
                      Case 2:04-cr-20039-CM-JPO                                       Document 379                        Filed 05/13/05                    Page 6 of 6

AO 245B (Rev.11/04) Judgment in a Criminal Case---Criminal Monetary Penalties
DEFENDANT:                              JOE GARRETT                                                                                                                        Judgment - Page 6 of 6
CASE NUMBE R:                           2:04CR20039-003-CM


                                                                SCHEDULE OF PAYMENTS
    Having assessed the defend ant’s ability to pay, payment of the total criminal mo netary penalties are du e as follows:

A       []      Lump sum payme nt of $ due immediately, balance due

        []      not later than              , or

        []      in accordance with ( ) C, ( ) D, ( ) E, or ( ) F below; or

B       [x]     Payment to begin immediately (may be combined with ( ) C, ( ) D, or (x ) F below); or

C       []      Payment in mo nthly insta llm ents o f not less than 5% of the defenda nt's monthly gross household income over a perio d of
                years to commence       days after the date of this judgment; or

D       []      Payment of not less than 10% of the funds deposited each month into the inmate's trust fund account and monthly installments
                of not less tha n 5% of the defendant's mon thly gross house hold incom e ove r a period of years, to commence    days after
                release from imprisonment to a term of supervision; or

E       []      Payment during the term of supervised release will commence within _ (e.g., 30 or 60 days) after release from impriso nment.
                The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F       [x]     Spe cial instructions reg arding the payment of crim inal mo netary p enalties:


If restitution is ordered, the Clerk, U.S. District Court, may hold and accumulate restitution payments, without distribution, until the amount
accumulated is such that the minimum distribution to any restitution victim will not be less than $25.

Paym ents should be made to Clerk, U.S. District Court, U.S. Courthouse - Room 2 59, 500 State Avenue, Kansas City, Kansas
661 01.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during impriso nment. All criminal mo netary p enalties, excep t those p ayments mad e throu gh the F ederal Bureau of Prisons’ Inm ate
Financial Re sponsibility Program, are mad e to the clerk o f the cou rt.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

        []      Joint and Several

        Defendant and Co-Defendant Na mes and Case N umbers (including defendant number), Total Amo unt Joint and Several Amount and
        corresponding payee, if appropriate.
                         Case Number                                                                                                                                    Joint and Several
                     (including Defendant                                                           Defendant Name                                                           Amount
                           Numb er)


        []      The defendant shall pay the cost of prosecution.

        []      The defendant shall pay the following court cost(s):

        []      The defendant shall forfeit the defendant's interest in the following pro perty to the United States:


 Paym ents sha ll be ap plied in the fo llowing orde r: (1) a sses sm ent, ( 2) re stitution prin cipa l, (3) re stitution intere st, (4) fine princ ipa l, (5) fine interest, (6) comm unity restitution,
(7) penalties, (8) costs, including cost of prosecution and court costs.
